Case 1:22-cv-00801-TWP-DML Document 49 Filed 06/29/22 Page 1 of 1 PageID #: 270




                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

 CRISTHIAN HERRERA CARDENAS, et                 )
 al.,                                           )
                                                )
                            Plaintiffs,         )
                                                )
                       v.                       )    No. 1:22-cv-00801-TWP-DML
                                                )
 U.S. IMMIGRATION AND CUSTOMS                   )
 ENFORCEMENT (ICE), et al.,                     )
                                                )
                            Defendants.         )

                            Order Setting Status Conference
        This case is set for a telephone status conference on July 11, 2022, at 2:00

 p.m. (Eastern), before Magistrate Judge Debra McVicker Lynch. The court will

 contact counsel by separate email through the court's electronic filing system with

 the call-in information to be used to participate in the conference.

        So ORDERED.




Date: 6/29/2022
                                            ____________________________________
                                               Debra McVicker Lynch
                                               United States Magistrate Judge
                                               Southern District of Indiana
 Distribution:

 All ECF-registered counsel of record via email generated by the court’s ECF system
